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1
                        IN THE UNITED STATES DISTRICT COURT
2
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
3
                                  SACRAMENTO DIVISION
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     N.L., an infant by his mother and natural   C.A. No. 2:17-cv-01512-JAM-DB
5    guardian SANDRA LEMOS,
6                 Plaintiff,                     Hon. District Judge John A. Mendez
7           v.
8    CREDIT ONE BANK, N.A., GC                     ORDER GRANTING JOINT
     SERVICES LIMITED PARTNERSHIP,                 MOTION FOR AN ORDER
9    IENERGIZER HOLDINGS, LIMITED,               COMPELLING THE RELEASE OF
     and FIRST CONTACT, LLC a/k/a IQOR              PLAINTIFF’S WIRELESS
10   HOLDINGS, INC,                                      RECORDS
11                Defendants.
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            Plaintiff N.L., an infant by his mother and natural guardian Sandra Lemos
14
15   (“Plaintiff”), and Defendant Credit One Bank, N.A. (“Defendant”), have filed with the
16   Court a Joint Motion for an Order, requiring Plaintiff’s Wireless Carrier, T-
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     Mobile/Metro PCS, to release Plaintiff’s wireless records and all records related to the
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19   -9847 phone number for the period of January 1, 2014 to present.
20       AND NOW, this 26th day of March, 2018, upon consideration of the Joint Motion,
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     and upon good cause shown,
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23   It is hereby ORDERED that:
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25       1. The Joint Motion is GRANTED.
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1            2. T-Mobile/Metro PCS is hereby ordered to release the Plaintiff’s wireless
2               records, and to provide the information sought by the Defendant’s January 19,
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4               2018 Subpoena.
      

5            3. The requested information is to be provided within ten days of service of this
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                Order.
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9               Dated: March 26, 2018
      
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                                               /s/ JOHN A. MENDEZ
11                                             HONORABLE JOHN A. MENDEZ
      
12                                             UNITED STATES DISTRICT JUDGE
      
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